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 5
                            UNITED STATES DISTRICT COURT
 6
                                  DISTRICT OF NEVADA
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                                          ***
 8
     UNITED STATES OF AMERICA,      )
 9                                  )
                                    )
10                  Plaintiff,      )           2:11-cr-00015-LDG-PAL
                                    )
11 vs.                              )
                                    )
12 TIMOTHY   HOUGH,                 )
                                    )
13            Defendant.            )           ORDER
   ________________________________ )
14
                On October 6, 2011, this Court granted GARY MYERS’ oral motion to
15
     withdraw as counsel for Defendant TIMOTHY HOUGH.
16
                IT IS ORDERED that JESS MARCHESE, ESQ. is appointed as counsel in his
17
     place.
18
                            WK day of December 2011.
                DATED this ____
19              Nunc Pro Tunc date October 3, 2011.
20
                                                ____________________________________
21                                              UNITED STATES DISTRICT JUDGE
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